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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMYRIS, INC., et al.,                                               Case No. 23-11131 (TMH)

                                    Debtors.1                       (Jointly Administered)



                   THE FORIS LENDERS’ WITNESS AND EXHIBIT LIST
              FOR HEARING SCHEDULED OCTOBER 4, 2023 AT 10:00 A.M. (ET)

          Euagore, LLC, as DIP Lender and DIP Agent (the “DIP Secured Parties”), and the Foris

Prepetition Secured Lenders2 (together with the DIP Secured Parties, the “Foris Lenders”)

respectfully file this witness and exhibit list identifying the witnesses the Foris Lenders may call

and the exhibits the Foris Lenders may introduce into evidence at the hearing to be held on October

4, 2023 at 10:00 a.m. (ET) (the “Hearing”) before the Honorable Thomas M. Horan, at the United

States Bankruptcy Court for the District of Delaware, located at 824 N. Market Street, 3rd Floor,

Wilmington, Delaware 19801.

                                                 WITNESSES

          The Foris Lenders cross designate all witnesses designated by any other party in connection

with the Hearing, and reserve the right to call any necessary rebuttal or impeachment witnesses.




1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
2
     The Foris Prepetition Secured Lenders include Foris Ventures, LLC (“Foris”), Perrara Ventures, LLC, Anesma
     Group, LLC, Anjo Ventures, LLC, and Muirisc, LLC.




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                                            EXHIBITS

          The Foris Lenders designate the following exhibits that may be used at the Hearing::

 Exhibit No.                          Description                                     Docket No.
     1       That certain Research, Collaboration and License Agreement,                172-1
             dated as of March 18, 2019 (as amended from time to time)

         2        That certain Security Agreement, dated as of May 2, 2019              172-2

         3        UCC Financing Statement filed by on May 5, 2019 by Lavvan,            172-3
                  Inc. (“Lavvan”)

         4        That certain Subordination Agreement, entered into as of May 2,       211-1
                  2019, by and between Foris and Lavvan

         5        UCC Financing Statement filed by GACP Finance Co., LLC                235-2
                  (“GACP”) on June 29, 2018 (the “GACP UCC-1”)

         6        UCC Financing Statement Amendment, assigning the GACP                 235-3
                  UCC-1 to Foris, filed by GACP on April 17, 2019 and UCC
                  Financing Statement Amendment, continuing the GACP UCC-1,
                  filed by Foris on May 25, 2023.

         7        Email correspondence between Michael Goldstein, Paul                   N/A
                  Fattaruso, and Alan Kornfeld on September 20, 2023
         8        Letter, dated September 20, 2023, from Michael Goldstein to Paul       N/A
                  Fattaruso

          The Foris Lenders also cross designate all exhibits designated by any other party in

connection with the Hearing, and reserve the right to use additional exhibits for rebuttal or

impeachment purposes.

          The Foris Lenders reserve the right to amend or supplement this witness and exhibit list

prior to the Hearing




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Dated: October 2, 2023
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                                  Counsel to the Foris Prepetition Secured Lenders and the
                                  DIP Secured Parties




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